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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 WASEEM DAKER,

                Plaintiff,                                  CIVIL ACTION NO.: 6:14-cv-47

        v.

 BRIAN OWENS, et al.,

                Defendants.


                                            ORDER

       This Order concerns Defendants’ Notice of Filing Costs and Fees. Doc. 439. Defendants

filed this Notice in accordance with the Court’s Order directing them to do so, after the Court

granted their motion to compel. Doc. 431. To the extent Plaintiff disputes the amount of costs

and fees set forth in Defendants’ Notice, Plaintiff is DIRECTED to file a response on or before

July 11, 2022. If Plaintiff fails to file a response to Defendants’ Notice within the time set by

this Order, the Court will assume Plaintiff does not dispute the amounts set forth in the Notice.

       SO ORDERED, this 24th day of June, 2022.




                                      ____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
